    Case 1:18-cv-05391-SCJ Document 228 Filed 02/11/20 Page 1 of 4




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


FAIR FIGHT ACTION, INC., et al.,


                 Plaintiffs/

                                                  CIVIL ACTION FILE
            V.
                                                  No. l:18-cv-5391-SCJ

BRAD RAFFENSPERGER, etal.,


                 Defendants.




                 SECOND AMENDED SCHEDULING ORDER

       This Court's July II/ 2019 scheduling order [Doc. No. 79] is amended as


follows:


      Upon consideration of the arguments presented at the January 2020,


discovery hearing/ the Court ORDERS that the time limits for adding parties/

amending the pleadings/ filing motions/ completing discovery/ and discussmg


settlement are as set out in the Federal Rules of Civil Procedure and the Local


Rules of this Court/ except as herein modified.
     Case 1:18-cv-05391-SCJ Document 228 Filed 02/11/20 Page 2 of 4




        Discovery begins on July 15, 2019. The parties are assigned to a four-


month discovery track/ which shall be followed by a 30-day expert discovery


track.1 The following schedule governs discovery:


        Submission of the parties' joint proposed protective order: July 15,


2019.


   • Close of fact discovery:


           o Responses to requests for production:2 March 2/ 2020.


           o Conclusion of depositions of Plaintiff s/ declarants:3 April 27,


              2020.


   • Expert discovery begins: November 15,2019.


   • Deadline for naming additional proposed experts except potential


        rebuttal experts: February 10, 2020.


   • Outstanding reports from Plaintiffs' expert wihiess for which reports


        all data and documents have been produced: February 18, 2020.




1 Counsel shall abide by the Instructions for Cases Assigned to the Honorable Judge
Jones [Doc. No. 34] regarding the procedures set forth therein for discovery disputes.

2 This extension applies to remaining outstanding requests for production only.

3 These depositions shall be limited to those declarants named by Plaintiffs on
or before Friday/ February 14, 2020.

                                           2
    Case 1:18-cv-05391-SCJ Document 228 Filed 02/11/20 Page 3 of 4




   • Depositions of Plaintiffs/ expert witnesses whose reports are produced


      on or before February 17, 2020: Week of February 24, 2020.


   • Outstanding expert reports from Plaintiffs' expert witnesses for which


      reports Plaintiffs are still waiting on additional document productions

      from Defendants: 10 days after Defendant informs the Court that the


      relevant materials have been produced.4


   • Defendants' expert reports: March 24,2020.


   • Conclusion of depositions of Defendants' expert witnesses: April 28,


      2020.


   • Plaintiffs' disclosure of rebuttal experts: Plaintiffs shall notify the Court


      whether they intend to identify rebuttal experts on April 30, 2020.

   • Expert discovery ends:


          o if Plaintiffs do not identify rebuttal experts, April 30, 2020.

          o if Plaintiffs identify rebuttal experts/ on June 4/ 2020.


   • Dispositive and Daubert motions: 30 days after the end of expert


      discovery.




4 If Plaintiffs disagree that the relevant materials have been produced/ they shall
inform the Court of that disagreement within two days of Defendants'
communication to the Court.
    Case 1:18-cv-05391-SCJ Document 228 Filed 02/11/20 Page 4 of 4




   • Responses to dispositive and Daubert motions: 30 days after the filing


      of any dispositive motion(s).

   • Replies in support of dispositive and Daubert motions: 15 days after


      the filing of any response(s) to any dispositive motions.5

   • Proposed pretrial orders: 30 days after the Court rules on outstanding


      dispositive motions.


   • Trial date: the parties will be notified of a trial date after the Court has


      ruled on all outstanding dispositive motions.


      A strong presumption shall exist against further extensions of deadlines


set out in this discovery order.




      IT IS SO ORDERED this //-/A day of February/ 2020.
                                               77"7'"/"
                                           ^- /-i ^/r~ c. ,A- ^/^

                                      HONORABLE STEV^/C. JONES
                                      UNITED STATES DISTRICT JUDGE




5 The Court may rule on Daubert motions prior to trial.

                                       4
